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 6                     IN THE UNITED STATES DISTRICT COURT
 7                           FOR THE DISTRICT OF ARIZONA
 8
     Lilian Fuentes-Ortega, on her own
 9   behalf and on behalf of her minor                   No.: CV-22-00449-PHX-DGC
     children, H.Y.L.F. and B.M.L.F.,,
10
                          Plaintiffs,                              ORDER
11
              vs.
12
13   United States of America,
14                        Defendant.
15         Pending before the Court is the parties’ Stipulation to Set Deadline for Defendant
16   to File Responsive Pleading. Doc. 37.
17         IT IS ORDERED granting the Stipulation. Doc. 37.
18         IT IS FURTHER ORDERED that Defendant United States’ responsive pleading
19   to the First Amended Complaint is due May 20, 2022.
20         Dated this 24th day of March, 2022.
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